a

7

7 4 PoTE > rit e a Lys re : j . nit Peete i i
Case 04-03774 “Doc 68-17 Filed 11/14/06 En ‘41:
. Page 1 of 2 iy tne cateeene seca snes tects ee eee
Sant byte TERRY Jan-21-99 67 150en feon BOFOSE1O3 4s page oie

vee Rota Si avtles 47

From: = EUGENE TERRY, 450 Censral Ave #2)4, Rightand Pork, 11.60035-2659 USA
Fax 347-266-1054, Tel 847-266-1052

FOR: Vicki & Bod, Rollin and Nicok
SUBJECT: Strategy Anafysic

DATE: hal, 1999

: PAGES: RntOf TroPage

1) At our Jan 19 mesting with Peter, one of his conclusions caused me to ffreamalyse
ar sitategy. He stated “you are in the entertainment business” By that I wemitan ..
that our customers want to see personaliti¢s, to have their interest stimulated, as against.
wanting 6 be educated or lectured to. If he is cumect then we may presently be gumgin =~
the Sineeti Oe

2) it was our thinking that direct sales would produce « subsantial cash flow within the: ~.
first month, This was besed upon our sssamption that there was a “need” by parents’ for -
_ Which we had a solution, Jt was amy understanding that the “need" was for parents to find. -
non-vidleat children's videos and pamos that alse educated,and thet would fill the child’s
need for computer eutertaiumant, Proto the video taped interviews Previewed of Vickion -
talk shows that was ,to me, the brunt of her argument. We were to attenspt to fill that :
“veceul” The fact that it was also educatiogal was a pins, The newspapers, colmmaiste,
several public (sad television producers) and helped to creat the “need”.

| 3) There is also # “heed” for educational programs but those neods may sequire another |
clancat. That cement is an educator or Enown educational omgentuttion té pronots your
-Progrant. in selling many medicines it’s « doctor, or one who appears fo be a medical
Perron, promoting the product. It might not be enough 20 suy,"do you have a headache,
here's & medicine” It might be necessary t say “do you bave a headache, here's this :
doctors solution, ac etc”. If you recall, Robert felt the original ad, where Vicki says “E” -
tueant nothing to the viewer because” who was Vicki". So we changed if to say it's
edocational, raises school avesages, ote but stil] the viewer wants to koow why Vicki is
the maven! Educational programs my be a market (like medacine, relaxation
tepes,bocks etc) whose need must be promoted by an expert as against those commercial
products winch the viewer already has the need and is secking a product. When a person.
needs a new anto, showing him your product, which is “tratigpanent” i, can be inspected
before being parchased, is all the advertiseing you need. The ewer wil make the 7.
decision re purchasing, He is the expert and knows what he wants Coseds),

4 ee ee

Page 2 of 2

Sent byt FERRY Jan-21°99 62:31eA From S47206193546%

woe

4) Another way to sell is by being promaved by semeons the public knows and believes is
an expert, Jordan sells gym shoes. There are plenty of different shoes out there, but his is
ennorsed by him “the expert". We do not have such a known expert'in our promotions.

5} Another way Js to use a well know person bo catch your attention so-you watch fhe ad,
Witch is generally a “transparent” product, (L.¢. the product can be inshorted before
muochase) suck as autos, Coding etc. Ever a catalogue bas picture and description. Most
nds using 8 personality have him refer or imuoduce an expert op the matter, each a3 a Dr.
| for a medicine, of an expert in physical therepy etc, Youmay still yeed the expert

Fate ae 2

=

6) There may be products «ut there far which only they can sot the need: The ad that =.

chimes it fixes prablems with Windows, (very successfitl is probably the only
frm gumny tor lavewn tive el endorse by an Soest
{'m guessing since I never sew the ed) Spo

7) If the above discussion hes socrit end soone truth thea our progrars, at this time-wrth -
direct sales, will ot prodnce a positive cash flow! Wo anc going at it ofl wrong, or rather
have: tho horse before the cart. The progrum should be to barild Vicki, over the next year,
imo the known expert, to promote the product vis T-V, in retai] gales, catalogues etc. It.
could be thet an expect will tell us it takes more then a year to build such a personaligy.
Anothar route fs to hire an educational expert or organization to endorse the product,
then re do the ad. Or peshaps the ad mast be redone to stress notiviolence eta .all-af this

requis more finds than.we have or ta-which we have access, Vick has dene.a fantastic

job petting us this fix. We have a product (s) that are good and are develaping more. We

_ know how to fheni, Sanyo etc ete, We have great packaging, We're selting to -

sone retail, We will be in a catlugue. We have tosted the market, retail, direot sale eto - °

and learacd from it. Vicki és the kind of personality that can be promoted and whois -
dedicated ty the concept She has raised aver a million t) get us this far. However the

“Mex? step may be to bold back for a peed and ta seek out those investors that have the

several millions necessary to promote Vicki, or hire a known expert $ promote dis”

product etc etc. Most iuportant ] would hope the investors would have soutic experience

in fhe “eoteaiuinesd” world or would be willing to retain someons, with that type of
experience, fo drive the program: :

8) iam awaiting Rbts report and conclusions sine hei ho empert “on boar” before I
Sevelop amaind set suggest we discuss the matters 1 rised

¥

Ae
